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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

BERTRUM JEAN, Individually and as the               §
surviving father of BOTHAM SHEM JEAN                §
ALLISON A. JEAN, Individually and as the            §
surviving mother of BOTHAM SHEM JEAN                §
and ALLISA E FINDLEY as the Administrator           §
of the estate of BOTHAM SHEM JEAN,                  §
                                                    §
        Plaintiffs,                                 §
                                                    §
v.                                                  §             CIVIL ACTION NO.
                                                    §             3:18-cv 02862-M
THE CITY OF DALLAS, TEXAS and                       §
AMBER GUYGER,                                       §
     Defendants.                                    §

                      NOTICE OF APPEARANCE AND DESIGNATION OF
                            LEAD COUNSEL FOR PLAINTIFFS

TO THE CLERK OF THIS COURT AND ALL PARTIES OF RECORD:

        Please take notice that the following attorney is entering an appearance for Plaintiffs,

BERTRUM JEAN, Individually and as the surviving father of BOTHAM SHEM JEAN,

ALLISON A. JEAN, Individually and as the surviving mother of BOTHAM SHEM JEAN and

ALLISA E. FINDLEY as the Administrator of the Estate of BOTHAM SHEM JEAN, and will

serve as lead counsel and replacing Daryl K. Washington as lead counsel in the above numbered

and entitled cause:

        STACY LEE MERRITT
        State Bar No. PA 314891
        Merritt Law Firm, LLC
        1910 Pacific Avenue, Suite 8000
        Dallas, TX 75201
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I certify that I am admitted to practice in this Court.

                                               Respectfully submitted,

                                               /s/ Stacy Lee Merritt___________
                                               STACY LEE MERRITT, Esq.
                                               State Bar No. PA 314891
                                               Merritt Law Firm, LLC
                                               1910 Pacific Avenue, Suite 8000
                                               Dallas, TX 75201
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                                      CERTIFICATE OF SERVICE

        I certify that on September 16, 2019, I electronically filed the foregoing document with
the clerk of the court for the U.S. District Court, Northern District of Texas, using the CM/ECF
electronic case filing system of the court. The electronic case filing system will send a “Notice
of Electronic Filing” notification to all case participants registered for electronic notice,
including all pro se parties and/or attorneys of record who have consented in writing to accept
this Notice as service of this document by electronic means. I further certify that I have service
to the extent applicable all case participants not registered for electronic notice by another
manner authorized by Federal Rule of Civil Procedure 5(b)(2).



                                               /s/ Stacy Lee Merritt_________
                                               Stacy Lee Merritt
                                               Attorney for Plaintiffs




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